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4                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
5                                     AT TACOMA

6    ROBERT KESSLER,
                                                        Case No. 2:21-cv-567 TLF
7                             Plaintiff,
           v.                                           ORDER OF DISMISSAL
8
     AMY TALLANT and SABU LLC,
9
                              Defendants.
10

11         On September 10, 2021, the Parties filed a joint stipulation of dismissal with the

12   Court. Dkt. 28. It appears that no issue remains for the Court’s determination.

13         It is ORDERED that this action and all claims asserted herein are DISMISSED

14   with prejudice and without cost to any party.

15         Dated this 21st day of September, 2021.

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18                                                   A
                                                     Theresa L. Fricke
19                                                   United States Magistrate Judge

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     ORDER OF DISMISSAL - 1
